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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


 ULTRAVISION TECHNOLOGIES, LLC,

        Plaintiff,
 vs.                                                Civil Action No.: 2:19-cv-00291-JRG-RSP
                                                    (LEAD CASE)
 HOLOPHANE EUROPE LIMITED,
 ACUITY BRANDS LIGHTING DE
 MEXICO S DE RL DE CV, HOLOPHANE,                   JURY TRIAL DEMANDED
 S.A. DE C.V. and ARIZONA (TIANJIN)
 ELECTRONICS PRODUCTS TRADE CO.,
 LTD.

        Defendants.


                                 NOTICE OF COMPLIANCE

        Holophane Europe Limited, Acuity Brands Lighting De Mexico S De RL De CV,

 Holophane S.A. De C.V., and Arizona (Tianjin) Electronics Products Trade Co., LTD.

 (“Holophane Defendants”) hereby notify the Court that pursuant to the Court’s Docket Control

 Order [Dkt. 58], they have served their Claim Terms pursuant to P.R. 4-2 upon Plaintiff’s counsel

 of record via electronic mail on May 19, 2020.

 Dated: May 19, 2020                                 Respectfully Submitted,

                                                     /s/ Melissa R. Smith
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                                                      Counsel for Defendants
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                                                      Acuity Brands Lighting De Mexico S De RL
                                                      De CV, Holophane, S.A. De C.V.
                                                      Arizona (Tianjin) Electronics Products
                                                      Trade Co., LTD.,




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a). As such, this document was served on all counsel who

 have consented to electronic service, on this the 19th day of May, 2020.


                                                  /s/ Melissa R. Smith
                                                  Melissa R. Smith




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